Case 1:17-cv-07919-NLH   Document 10-3   Filed 12/01/17   Page 1 of 7 PageID: 58




                         EXHIBIT A
Case 1:17-cv-07919-NLH   Document 10-3   Filed 12/01/17   Page 2 of 7 PageID: 59
Case 1:17-cv-07919-NLH   Document 10-3   Filed 12/01/17   Page 3 of 7 PageID: 60
Case 1:17-cv-07919-NLH   Document 10-3   Filed 12/01/17   Page 4 of 7 PageID: 61
Case 1:17-cv-07919-NLH   Document 10-3   Filed 12/01/17   Page 5 of 7 PageID: 62
Case 1:17-cv-07919-NLH   Document 10-3   Filed 12/01/17   Page 6 of 7 PageID: 63
Case 1:17-cv-07919-NLH   Document 10-3   Filed 12/01/17   Page 7 of 7 PageID: 64
